     Case 3:16-cv-00237-RCJ-CLB Document 191
                                         194 Filed 04/03/20
                                                   04/06/20 Page 1 of 3



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   Attorneys for Western Range Association
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                                FOR THE DISTRICT OF NEVADA
10
   ABEL CÁNTARO CASTILLO; ALCIDES                Case No. 3:16-cv-00237-RCJ-VPC
11 INGA   RAMOS,   and those similarly situated,

12               Plaintiff,
     vs.
13

14 WESTERN RANGE ASSOCIATION;
   MELCHOR GRAGIRENA; EL TEJON
15 SHEEP COMPANY; MOUNTAIN PLAINS
   AGRICULTURAL SERVICE; ESTILL
16 RANCHES, LLC; and JOHN ESTILL,

17                 Defendants.
18

19   STIPULATION TO EXTEND TIME TO FILE REPLY IN SUPPORT OF DEFENDANT’S
                             MOTION TO COMPEL
20                              (First Request)

21          Defendant WESTERN RANGE ASSOCIATION (“Western Range”) AND Plaintiff Abel
22 Cántaro Castillo, by and through their respective attorneys of record, hereby stipulate to extend the

23 time for Defendants to file their Reply in support of Defendant’s Motion to Compel from their

24 current deadline of March 31, 2020 to April 8, 2020.

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     Case 3:16-cv-00237-RCJ-CLB Document 191
                                         194 Filed 04/03/20
                                                   04/06/20 Page 2 of 3



 1         This is the first request for an extension. This request is necessitated by the otherwise

 2 unanticipated work challenges in Nevada arising from the COVID-19 situation. This request is made

 3 in good faith and not for purposes of delay.

 4 Dated: April 3, 2020

 5   _/s/ Christine E Webber______________        _/s/ Ellen Jean Winograd________________
     Christine E. Webber, Esq.                    Ellen Jean Winograd, Esq.
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     7287 Lakeside Drive
15
     Reno, NV 89511
16   Attorneys for Plaintiff

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           IT IS SO ORDERED.
18
           DATED this 6th
                      _____ day of April, 2020.
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                                                        ________________________________
20                                                      UNITED STATES MAGISTRATE JUDGE

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     Case 3:16-cv-00237-RCJ-CLB Document 191
                                         194 Filed 04/03/20
                                                   04/06/20 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on April 3, 2020, a true and correct copy of the foregoing was served

 3 via the United States District Court CM/ECF system on all parties or persons requiring notice.

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 5
                                                         _/s/ Haleigh Valenta__________________
 6                                                       An Employee of Woodburn and Wedge
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